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 8                             UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    RALPH COLEMAN, et al.,                               No. 2:90-cv-0520 KJM DB
12                             Plaintiffs,                 ORDER
13           v.
14
      GAVIN NEWSOM, et al.,
15
                               Defendants.
16

17          On March 1, 2024, as required by court order, Feb. 26, 2024 Minute Order, ECF No.

18   8137, the Special Master filed his Report on his Expert’s Sixth Re-Audit Report of Suicide

19   Prevention Practices in the Prisons of the California Department of Corrections and
20   Rehabilitation and Re-Audit of Suicide Prevention Practices in the Psychiatric Inpatient

21   Programs, together with the Expert’s Sixth Re-Audit Report, ECF Nos. 8143, 8143-1, “directly

22   and without circulation of a draft report to the parties,” ECF No. 8137. As authorized by the

23   court, ECF No. 8137, on April 1, 2024, defendants filed objections to the Sixth Re-Audit Report.

24   ECF No. 8179.

25          On April 3, 2024, plaintiffs filed a Request for Leave to Respond to Defendants’

26   Objections to Special Master’s Sixth Re-Audit Report and for Order Requesting Special Master to

27   Respond to Objections.” ECF No. 8185. On April 4, 2024, defendants filed an opposition to

28   plaintiffs’ request, contending plaintiffs improperly seek relief from the court’s February 26, 2024

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1    minute order without complying with the requirements of the court’s December 24, 2020 order,

2    ECF No. 7003, specifically the requirement that

 3          any party seeking relief from this court, including from any existing order of this
 4          court, must first file a request for leave to file a motion, describing with particularity
 5          the relief to be sought and the steps the party has taken to exhaust meet and confer
 6          efforts with all opposing counsel. The request also should describe communications
 7          with the Special Master regarding the proposed motion as part of the requester’s due
 8          diligence in determining whether the parties are at impasse. Any such request must
 9          not exceed five (5) pages. The court will not entertain any motion unless a request
10          for leave to file that complies with this order is first filed and then the court grants
11          it.
12   Dec. 24, 2020 Order at 2, ECF No. 7003.
13          On April 8, 2024, the court granted plaintiffs’ request in part and directed the parties to

14   file, sequentially, focused briefing on Section III of defendants’ General Objections. See

15   generally Apr. 8, 2024 Order, ECF No. 8192. In their responsive brief, ECF No. 8198, and at a

16   status conference on April 26, 2024, plaintiffs requested an opportunity to provide a more

17   comprehensive response to all of defendants objections, including those raised in Section III. The

18   court now makes express what was implicit in the April 8, 2024 order. Plaintiffs’ April 3, 2024

19   request does not fall within the category of requests for relief from this court for which

20   compliance with the December 24, 2020 order is required. In accordance with longstanding

21   practice in this action, any party who seeks to file a response to briefing filed by an opposing

22   party where such a response is not explicitly authorized by court order must seek leave of court to

23   file the response, but is not required to comply with the December 24, 2020 order before filing

24   that request.

25          Good cause appearing, plaintiffs will be granted fourteen days from the date of this order

26   in which to file a full response to Section III of defendants’ objections to the Sixth Re-Audit

27   Report. Defendants will be granted seven days thereafter to file a reply to plaintiffs’ response.

28          IT IS SO ORDERED.

29    DATED: May 2, 2024.




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